Case 1:19-md-02875-RMB-SAK      Document 3100      Filed 06/27/25   Page 1 of 4 PageID:
                                     123199



                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

                                                  MDL No. 2875
     IN RE: VALSARTAN, LOSARTAN,
     AND IRBESARTAN PRODUCTS                      Honorable Renée Marie Bumb
     LIABILITY LITIGATION                         Chief District Court Judge


     This Document Relates to the TPP Trial
     Claims


                        TPP TRIAL DEFENDANTS’
              NOTICE OF MOTION FOR SUMMARY JUDGMENT1

 Defendants are entitled to summary judgment for multiple reasons.

         PLEASE TAKE NOTICE that on a date to be determined by the Court, the

 undersigned counsel will bring Defendants’ Motion for Summary Judgment.

 Defendants will ask for entry of an order granting summary judgment in favor of

 Defendants and dismissing the TPP Trial claims in their entirety, with prejudice.




 1
         This Motion for Summary Judgment concerns the claims designated in Case
 Management Order No. 32 (the “TPP Trial Claims”); specifically, the claims of
 Plaintiff MSP Recovery Claims, Series LLC, as class representative of TPP Breach
 of Express Warranty subclass b, TPP Fraud subclass c, and TPP State Consumer
 Protection Laws subclass a (collectively, the “TPP Classes”), against the TPP Trial
 Defendants. (ECF 2343 at 1-2.) Defendants were previously granted summary
 judgment on the claims asserted by Implied Warranty subclass d. (ECF 2695 at 5.)
 In filing this motion, Defendants do not waive any arguments in favor of summary
 judgment with respect to any other claims asserted by any Plaintiff as to any
 Defendant(s) in this multidistrict litigation.

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Case 1:19-md-02875-RMB-SAK      Document 3100     Filed 06/27/25     Page 2 of 4 PageID:
                                     123200



       PLEASE TAKE FURTHER NOTICE that in support of their motion,

 Defendants shall rely upon the Brief submitted herewith, the L.R. 56.1 Statement of

 Material Facts Not in Dispute, and the Declaration of Nina Rose, Esq., together with

 exhibits; and

       PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

 herewith; and

       PLEASE TAKE FURTHER NOTICE that oral argument is requested.

  Dated: June 27, 2025                     Respectfully submitted,

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                                          2
Case 1:19-md-02875-RMB-SAK   Document 3100   Filed 06/27/25   Page 3 of 4 PageID:
                                  123201



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                                     3
Case 1:19-md-02875-RMB-SAK       Document 3100   Filed 06/27/25     Page 4 of 4 PageID:
                                      123202



                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 27, 2025, a true and correct copy of the

 foregoing document was served upon counsel of record via operation of the Court’s

 electronic filing system.

  Dated: June 27, 2025                    Respectfully submitted,

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